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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                       Dianne Buehler                          )
                             Plaintiff                         )
                                v.                             )      Case No.     1:23-cv-10281
  American Airlines Group, Inc. and JetBlue Airways            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant JetBlue Airways Corporation                                                                        .


Date:          03/15/2023                                                               /s/ Matthew Craner
                                                                                         Attorney’s signature


                                                                                  Matthew Craner (NY #2912962)
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                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
 registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
        will be sent to those indicated as non registered participants on March 15, 2023.



                                                     /s/ Matthew Craner
                                                     Matthew Craner
